      Case 2:23-cv-00028-AM Document 45 Filed 10/18/23 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              DEL RIO DIVISION

FEDERICO TORRES, Individually and as       §
representative and ANF of R.T., Deceased   §
Minor; ARNULFO REYES; PATRICIA             §
ALBARADO;        MONICA       ARRIOLA,     §
Individually and ANF of J.T., Minor;       §
ERICA BARRERA, Individually and ANF        §
of D.R., Minor; MICHAEL BROWN,             §
Individually and ANF of V.B.; JENNIFER     §
DAVIS, Individually and ANF of Z.D.,       §
Minor; JENNIFER GAITAN, Individually,      §
And ANF of J.N., Minor; ANGELI ROSE        §
GOMEZ, Individually and ANF G.B. &         §
A.G., Minors; LUZ HERNANDEZ,               §
Individually and ANF of N.J., Minor;       §
CARLA ROSE KING; TIFFANY LUNA,             §
Individually and ANF of A.P., Minor;       §
TAMICA MARTINEZ, Individually and          §
ANF of R.D., Minor; TIFFANY MASSEY;        §
YOLANDA MORALES, Individually and          §
as ANF of Z.G., Minor; MARK MORENO         §
and ROSEMARY MORENO, Individually          §
and ANF of N.M., Minor; NICOLE FAYE        §
OGBURN;        MARY     ANN     REYES,     §
Individually and ANF of A.S. & A.S.,       §
Minors; BIANCA RIVERA, Individually,       §
AND ANF of G.R., Minor; SAMANTHA           §
RODRIGUEZ, Individually and ANF of         §
M.J., Minor; JULIO/PRISCILLA RUBIO,        §
Individually and ANF of M.R., Minor;       §
BRIANA RUIZ, Individually and ANF D.G.,    §
Minor; CHRISTIAN and BRENDA                §
SONORA, Individually and ANF V.S.;         §
DAVID TREVINO, Individually and as         §
ANF of A.T., I.T. & D.T., Minors;          §
KRYSTAL UPTON, Individually and ANF        §
of J.T. and B.T., Minors; ESMERALDA        §
VELASQUEZ, Individually and ANF of         §
C.V., Minor; SOFIA ZAPATA, Individually    §
and ANF of M.S., Minor; and JANE DOE,      §
Individually                               §
                                           §
      Plaintiffs,                          §
         Case 2:23-cv-00028-AM Document 45 Filed 10/18/23 Page 2 of 3




v.                                     §                               C.A. No. 2:23-cv-00028
                                       §
DANIEL DEFENSE, LLC, a limited         §
Liability Company; OASIS OUTBACK, LLC, §
a Texas limited Liability Company;     §
FIREQUEST INTERNATIONAL, INC., an      §
Arkansas Corporation                   §
                                       §
        Defendants.                    §


       STIPULATION OF UNOPPOSED VOLUNTARY DISMISSAL WITHOUT
                      PREJUDICE OF DEFENDANTS

      Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiffs Arnulfo Reyes, Federico Torres,

Individually and ANF of R.T., Priscilla Rubio, Individually and ANF of M.R., Briana Ruiz, Individually

and ANF D.G., Samantha Rodriguez, Individually and ANF of M.J., Rosemary Moreno, Individually and

ANF of N.M; Jennifer Gaitan, Individually and ANF of J.N.; and Monica Arriola, Individually and ANF

of J.T., (“Plaintiffs”) provide notice that all claims previously asserted by Plaintiffs against

Defendants Daniel Defense, LLC, a limited Liability Company; Oasis Outback, LLC, a Texas

Limited Liability Company; and Firequest International, Inc., an Arkansas Corporation, are all

individually and voluntarily dismissed without prejudice. Defendant Daniel Defense, LLC has

not made an appearance in this lawsuit. All remaining parties are not opposed to this dismissal.

Each party will bear its own costs, fees, and expenses.


      Dated: October 18, 2023

                                               Respectfully submitted,

                                               CARRIGAN & ANDERSON, P.L.L.C.

                                               /s/ David M. Anderson
                                               David M. Anderson
                                               State Bar No. 24064815
                                               Federal I.D. 985644
                                               101 N. Shoreline Blvd., Suite 420



                                                2
          Case 2:23-cv-00028-AM Document 45 Filed 10/18/23 Page 3 of 3




                                               Corpus Christi, Texas 78401
                                               361-884-4433 – Telephone
                                               361-884-4434 – Facsimile
                                               danderson@ccatriallaw.com

                                               ATTORNEY-IN-CHARGE FOR PLAINTIFFS

                             CERTIFICATE OF CONFERENCE

         Counsel for Plaintiffs and Defendant have conferred and agree as to this Motion and the
relief requested.



                                                             /s/David M. Anderson
                                                             David M. Anderson




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of October, 2023, I served all counsel of record

 through electronic service as authorized by Fed. R. Civ. Pro.5.


                                                               /S/ David M. Anderson
                                                               David M. Anderson




                                                3
